Case 3:18-cv-11852-FLW-TJB Document 54 Filed 03/17/21 Page 1 of 2 PageID: 582




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


  DIANE VACCARO, on behalf of herself                   Civil Action No. 18-11852 (FLW)
  and those similarly situated,

                    Plaintiff,
                                                                     ORDER
         v.

  AMAZON.COM.DEDC, LLC,

                   Defendant.



       This matter having come before the Court upon named plaintiff Diane Vaccaro’s

(“Plaintiff’s”) motion to amend her First Amended Complaint to add Jennifer Chiu, a former

employee of defendant Amazon.com.dedc, LLC (“Defendant”), as an additional named plaintiff

and to add allegations against Defendant under the New Jersey Wage and Hour Law for required

pre-shift COVID-19 screenings at Defendant’s New Jersey warehouses or “fulfillment centers”

(Docket Entry Nos. 47, 51); and Defendant having opposed Plaintiff’s motion on futility grounds

(Docket Entry No. 50); and the Court having considered all arguments raised in support of and in

opposition to Plaintiff’s motion; and the Court having considered Plaintiff’s motion without oral

argument pursuant to L.Civ.R. 78.1(b); and for the reasons set forth in the Court’s accompanying

Memorandum Opinion; and for good cause shown;

       IT IS on this 17th day of March, 2021,

       ORDERED that Plaintiff’s motion seeking leave to file an Amended Complaint is

GRANTED; and it is further

       ORDERED that the Clerk of the Court terminate Docket Entry No. 47; and it is further
Case 3:18-cv-11852-FLW-TJB Document 54 Filed 03/17/21 Page 2 of 2 PageID: 583




        ORDERED that the parties confer and submit a proposed revised schedule by March 31,

2021.



                                          s/Tonianne J. Bongiovanni
                                          HONORABLE TONIANNE J. BONGIOVANNI
                                          UNITED STATES MAGISTRATE JUDGE
